Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 1 of 24 PageID #: 1177




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND


   JOHN DOE,
                     Plaintiff,

         v.                                       C.A. NO.: 18-106-JJM-LDA

   JOHNSON & WALES UNIVERSITY,
                  Defendant.




                    DEFENDANT JOHNSON & WALES UNIVERSITY’S
                           MEMORANDUM IN SUPPORT OF
               MOTION FOR RECONSIDERATION OR, IN THE ALTERNATIVE,
                              CLARIFICATION




    JOHNSON & WALES UNIVERSITY
    BY ITS ATTORNEYS,


    STEVEN M. RICHARD (#4403)                   JEREMY LICHT (#9518)
    JEFFREY S. BRENNER (#4359)                  JOHNSON & WALES UNIVERSITY
    NIXON PEABODY LLP                           8 ABBOTT PARK PLACE
    ONE CITIZENS PLAZA, SUITE 500               PROVIDENCE, RI 02903
    PROVIDENCE, RI 02903                        TEL: (401) 598-1027
    TEL: 401-454-1020                           FAX: (401) 598-2240
    FAX: 401-454-1030                           EMAIL: jeremy.licht@jwu.edu
    EMAIL: srichard@nixonpeabody.com



                                                December 20, 2019
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 2 of 24 PageID #: 1178



                                                         TABLE OF CONTENTS

                                                                                                                                                     Page



   INTRODUCTION ............................................................................................................................. 1
   SUMMARY OF THE ARGUMENT ................................................................................................ 2
   ARGUMENT ..................................................................................................................................... 4
   I.      The Court Should Reconsider Its Order And Enter Summary Judgment In JWU’s Favor. ..... 4
           A.      Applicable Law On “Reasonable Expectations” And “Fairness” Entitles JWU To
                   Summary Judgment. ........................................................................................................ 4
                   1.      Binding First Circuit Precedent Holds That A Promise To Be Fair Does Not Create
                           Additional Contractual Protections Under The “Reasonable Expectations” Test. . 4
                   2.      Binding First Circuit Precedent Holds That A Promise To Be Fair Is Not
                           Ambiguous But An Incorporation Of The Implied Covenant Of Good Faith And
                           Fair Dealing. ........................................................................................................... 8
                   3.      Binding First Circuit Precedent Holds That A Court Cannot Create New Student
                           Protections Without Support From State Legal Sources. ..................................... 10
           B.      Doe’s Contract Claims Fail Under The Proper Application Of First Circuit Precedent.
                   ....................................................................................................................................... 10
   II.     Fundamental Principles of Contract Law Foreclose The Conclusion That “Fair” Constitutes
           An Ambiguous Yet Enforceable Promise To Provide Additional Protections. ...................... 14
           A.      “Fair” Is Not Ambiguous Insofar As It Has The Same Meaning As The Implied
                   Covenant. ....................................................................................................................... 15
           B.      “Fair” Is Not Ambiguous As Used In The CRP. ........................................................... 15
           C.      The Order’s Construction Of “Fair” Leads To An Indefinite, Unenforceable Promise. 18
   III.    Alternatively, The Court Should Grant Reconsideration To Clarify The Order. ................... 19
   CONCLUSION ................................................................................................................................ 19




                                                                                    i
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 3 of 24 PageID #: 1179



                                                  TABLE OF AUTHORITIES

                                                                                                                                        Page(s)
             Cases

   Bleiler v. Coll. of Holy Cross, 2013 WL 4714340 (D. Mass. Aug. 26, 2013) .............................. 11

   Bliss Mine Rd. Condo. Ass’n v. Nationwide Prop. & Cas. Ins. Co., 11 A.3d 1078 (R.I. 2010) ... 15

   Doe v. Brown Univ., 943 F.3d 61 (1st Cir. 2019) ..................................................................... 7, 10

   Doe v. Trustees of Boston College, 892 F.3d 67 (1st Cir. 2018) ........................................... passim

   Doe v. Trustees of Boston College, 942 F.3d 527 (1st Cir. 2019) ......................................... passim

   Fernandez-Vargas v. Pfizer, 522 F.3d 55 (1st Cir. 2008)............................................................... 1

   G. v. Fay Sch., 931 F.3d 1 (1st Cir. 2019) ................................................................................ 5, 18

   Gorman v. St. Raphael Acad., 853 A.2d 28 (R.I. 2004) ............................................................... 10

   Haviland v. Simmons, 45 A.3d 1246 (R.I. 2012) .......................................................................... 16

   Havlik v. Johnson & Wales Univ., 509 F.3d 25 (1st Cir. 2007) ............................................ passim

   Lincoln Nat. Life Ins. Co. v. Wilmington Tr. Co., 2013 WL 4042659 (D.R.I. Aug. 9, 2013) ........ 1

   Lyons v. Salve Regina Coll., 565 F.2d 200 (1st Cir. 1977)............................................................. 7

   Mangla v. Brown Univ., 135 F.3d 80 (1st Cir. 1998) ............................................................. 11, 12

   Miller v. Wells Fargo Bank, N.A., 160 A.3d 975 (R.I. 2017) ....................................................... 15

   Paul v. Paul, 986 A.2d 989 (R.I. 2010) ........................................................................................ 15

   Roe v. Ne. Univ., 2019 WL 1141291 (Mass. Super. Ct. Mar. 8, 2019) ........................................ 12

   Ross-Simons of Warwick, Inc. v. Baccarat, Inc., 182 F.R.D. 386 (D.R.I. 1998) .......................... 18

   Schaer v. Brandeis Univ., 735 N.E.2d 373 (Mass. 2000) ............................................................... 7

             Rules

   34 C.F.R. § 668.46(k) ................................................................................................................... 16

   34 C.F.R. § 668.46(k)(2)(i). .......................................................................................................... 16
                                                                             ii
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 4 of 24 PageID #: 1180



   34 C.F.R. § 668.46(k)(3)(i)(B)................................................................................................ 16, 17




                                                                         iii
             4826-9363-3945.1
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 5 of 24 PageID #: 1181



              Defendant Johnson & Wales University (“JWU”) respectfully moves for reconsideration

   or, in the alternative, clarification of the Court’s Memorandum and Order of November 26, 2019

   (“Order”) insofar as it denied JWU’s motion for summary judgment on Plaintiff John Doe’s claims

   for breach of contract and the implied covenant of good faith and fair dealing (collectively,

   “contract claims”). JWU respectfully requests oral argument on its motion.

                                                   INTRODUCTION

              Doe claims JWU breached the terms of its Conduct Review Process (“CRP”)1 by not

   providing him various procedures during the student conduct proceeding that led to his expulsion

   for sexual assault. As the Order recognizes, Doe “acknowledges that the process [i.e., the CRP]

   does not explicitly give him any of the rights he alleges were denied him.”                  Order at 6.

   Nonetheless, the Order denied JWU summary judgment on Doe’s contract claims because the CRP

   uses the word “fair,” which the Order determined is “ambiguous,” such that “a reasonable juror

   could determine that the meaning of ‘fair’ includes being provided more protections than Doe

   alleges he received.” Id. at 7-8. In other words, the Order determined that the word “fair” could

   be construed to add procedures into the conduct review process that the CRP itself “does not

   explicitly give.” Id. at 6.

              JWU recognizes that courts grant reconsideration “sparingly” and the applicable standard

   for reconsideration—“a manifest error of law”—sets a high bar. Lincoln Nat. Life Ins. Co. v.

   Wilmington Tr. Co., 2013 WL 4042659, at *3 (D.R.I. Aug. 9, 2013) (internal quotations and

   citation omitted).         Nonetheless, “a district court has the inherent power to reconsider its

   interlocutory orders, and [the First Circuit] encourage[s] it to do so where error is apparent.”

   Fernandez-Vargas v. Pfizer, 522 F.3d 55, 61 n.2 (1st Cir. 2008). JWU submits that the Order’s



   1
       Exhibit C to the Declaration of Elizabeth (Betsy) Gray (“Gray Decl.”) (Dkt. No. 51-2).
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 6 of 24 PageID #: 1182



   holding on Doe’s contract claims meets the standard for reconsideration, with the unique

   circumstances here making reconsideration particularly appropriate.

           First, the First Circuit decided Doe v. Trustees of Boston College, 942 F.3d 527 (1st Cir.

   2019) (Boston College II)—binding precedent that forecloses the conclusion the Order reached—

   less than a week before the Order issued; indeed, the Order adopts the very argument Boston

   College II rejected. Second, the Order is based on a theory (that the term “fair” is “ambiguous,”

   Order at 6-8) that neither party advanced (or even mentioned). Thus, the parties did not have the

   opportunity to brief a key precedent or the underpinnings of the Order, and the Court did not have

   the benefit of such briefing.2 JWU respectfully submits that an opportunity fully to address these

   matters would be beneficial not only to the Court and the parties but also other litigants who may

   be affected by this precedent.

                                     SUMMARY OF THE ARGUMENT

           JWU respectfully contends that the following grounds warrant reconsideration:

           First, Boston College II contains three express holdings that foreclose the Order’s

   conclusion:

                   A promise to provide a “fair” conduct review process does not create a “reasonable
                    expectation” of or entitle a student to protections beyond those explicitly set forth
                    in the student handbook. See 942 F.3d at 533-34.

                   A promise to provide a “fair” process merges into the implied covenant of good
                    faith and fair dealing and promises nothing more than what the implied covenant
                    already provides. See id. at 534 n.6 (citing Doe v. Trustees of Boston College, 892
                    F.3d 67, 76, 88 (1st Cir. 2018) (Boston College I)).3
                   Federal courts should not extend to students procedural protections not provided in
                    a student handbook absent clear support from state laws. See Boston College II,
                    942 F.3d at 533-536.


   2
     JWU submitted a letter concerning Boston College II, but only on the afternoon before the Order was published, and
   the Order addressed the case only in a footnote. Order at 7 n.9.
   3
     In Boston College I, the handbook expressly promised “fundamental fairness” as well as a “fair procedure which
   [was] appropriate to the circumstances.” 892 F.3d at 76, 87.

                                                                2
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 7 of 24 PageID #: 1183



          Applying these principles, the First Circuit concluded that, notwithstanding an explicit

   promise of a “fair procedure” or “fairness,” the student handbook could not be construed to provide

   additional protections that neither the handbook nor existing state law expressly provided. The

   Order’s conclusion that the CRP’s use of the word “fair” could create protections the CRP does

   not expressly provide conflicts with Boston College II.

          Upon reconsideration, the Court should analyze Doe’s contract claims under the

   framework of Boston College II. Applied in this case, that framework requires entry of summary

   judgment in JWU’s favor, because the additional protections Doe has identified conflict with or

   are absent from the CRP and are unsupported by any existing Rhode Island law.

          Second, the Order’s conclusion that the term “fair” is ambiguous deviates from First

   Circuit precedent and well-established contract interpretation principles for the following reasons:

                 Given the First Circuit’s holding that the promise to be fair in a student handbook
                  merges into the implied covenant of good faith and fair dealing, see Boston College
                  II, 942 F.3d at 534 n.6; Boston College I, 892 F.3d at 87-88, “fair” cannot be
                  deemed ambiguous.

                 Even setting aside this specific definition, the term “fair” cannot be read as
                  ambiguous in context, in light of the contract as a whole, which is how applicable
                  precedent requires contract provisions to be construed. “Fair,” used twice,
                  respectively (1) describes how JWU will administer its express procedures and (2)
                  following federal regulations nearly verbatim, describes how JWU complies with
                  those federal regulations. “Fair” does not describe what protections JWU will
                  provide and is therefore not susceptible of the meaning the Order ascribes to it—
                  i.e., that it can be construed to require protections the CRP does not explicitly give.

                 Alternatively, if “fair” can mean, as the Order held, that the CRP requires
                  undefined, unspecified protections, then there can be no binding contractual
                  promise. An unfettered promise to be “fair” would be too vague and indefinite to
                  enforce, and no jury could reasonably determine that the parties had a meeting of
                  the minds on what the term meant or means.

          Upon reconsideration, the Court should assess the contract law claims in light of these

   principles. Applied in this case, that approach requires entry of summary judgment in JWU’s favor


                                                        3
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 8 of 24 PageID #: 1184



   because “fair” cannot be read as “ambiguous” or, even if it could, as providing protections beyond

   those the CRP expressly sets forth.

            Finally, in the alternative, at minimum, the Court should clarify which of the multiple

   additional protections that Doe identifies remain viable as part of his contract claims. This

   clarification is necessary to enable JWU to prepare for trial as the Court has not yet specified

   which additional protections fall within its interpretation of “fair.”

                                              ARGUMENT

   I.       The Court Should Reconsider Its Order And Enter Summary Judgment In JWU’s
            Favor.

            A.     Applicable Law On “Reasonable Expectations” And “Fairness” Entitles JWU
                   To Summary Judgment.
            Binding First Circuit precedent on the “reasonable expectations” test and the construction

   of “fair” provides three grounds for reconsideration and entry of summary judgment in JWU’s

   favor.

                   1.      Binding First Circuit Precedent Holds That A Promise To Be Fair Does
                           Not Create Additional Contractual Protections Under The
                           “Reasonable Expectations” Test.

            First, Boston College II forecloses the conclusion that, under the “reasonable expectations”

   test, a promise to be “fair” can contain protections the student handbook does not explicitly give.

   In Boston College II, the First Circuit construed a student handbook that included an express

   promise to assure “fundamental fairness.” 942 F.3d at 534 n.6. The First Circuit’s holding

   establishes that the specific procedures of the student handbook, not its general promise of fairness,

   determine what procedural protections a school is required to provide under the reasonable

   expectations test. Addressing the plaintiff’s argument that he was entitled to cross-examine

   witnesses, the First Circuit stated:




                                                         4
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 9 of 24 PageID #: 1185



                   We reject Doe’s argument that his reasonable expectations arising from
                   the contract were that he would be given the opportunity to engage in
                   quasi-cross-examination of Roe in real time. Nothing in the contract
                   provides any basis for the expectation. Indeed, the contract
                   procedures explicitly do not provide for any such opportunity. Given
                   the Policy’s plain description of BC’s investigation process, Doe could
                   not have reasonably expected to be allowed quasi-cross-examination
                   in real time.

   Id. at 533 (emphases added). Notably, the plaintiff advanced an argument analogous to the

   reasoning of the Order: he claimed a right to cross-examination because “BC’s contractually

   binding promise of ‘fundamental fairness’ does have meaning beyond simply following BC’s

   existing procedures,” and “under that test, BC failed to meet Doe’s reasonable expectation that he

   would be afforded a fundamentally fair process” because it denied him cross-examination rights.4

   Despite that argument and explicitly noting the contract’s promise of “fundamental fairness,” id.

   at 534 n.6, the First Circuit held: “Nothing in the contract provides any basis for the expectation

   [of cross-examination]. Indeed, the contract procedures explicitly do not provide for any such

   opportunity,” id. at 533 (emphases added). In other words, the promise of “fundamental fairness”

   does not provide “any basis” for the student’s expectation for a procedure that is not made explicit

   in the handbook. Id. at 533, 534 n.6; accord G. v. Fay Sch., 931 F.3d 1, 12 (1st Cir. 2019)

   (“distinguishing well-defined procedures and policies [in a student handbook], which can form

   contractual promises, from generalized representations, which cannot” (internal quotations

   omitted)).

              The First Circuit in Boston College I reached a similar conclusion. There, the student

   handbook explicitly promised a “fair procedure which [was] appropriate to the circumstances.”

   892 F.3d at 76. The plaintiff argued Boston College “breached the terms of [its] contractual

   agreement and the fundamental fairness guarantees … to students facing disciplinary


   4
       Brief of John Doe, Doe v. Trustees of Boston College, 2019 WL 5587068, at *27-*29 (1st Cir. Oct. 23, 2019).

                                                                  5
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 10 of 24 PageID #: 1186



   procedures” by, inter alia, failing to: conduct a threshold evaluation of the complaint with the

   plaintiff before referring the matter to a disciplinary hearing; have the college police conduct the

   investigation; and delay the hearing pending the resolution of a related criminal investigation. Id.

   at 80-83 (emphasis added and footnote omitted). Analyzing the specific language of the student

   handbook, the First Circuit made clear that a promise of a “fair procedure” does not create a

   reasonable expectation of receiving procedural protections contrary to or absent from the student

   handbook. In rejecting the argument that Boston College breached the handbook by failing to stay

   the hearing, the First Circuit illustrated the point:

                    One more time the Student Guide’s language is dispositive. In relevant
                    part … the Student Guide provides that when a complaint is filed ‘[t]he
                    University will promptly conduct an investigation of the alleged incident
                    ... [and] make every reasonable effort to resolve the complaint within
                    [sixty] days.’ Therefore, a student facing a complaint could reasonably
                    expect that any disciplinary hearing would take place within those sixty
                    days. And this reasonable expectation is not truncated by B.C.’s other
                    contractual obligations to provide due process and fundamental
                    fairness….

   Id. at 83 (emphasis added); see id. at 81 (holding that because handbook did not require a threshold

   evaluation, “under the standard of reasonable expectations, it does not create a reasonable

   expectation on any reader that a threshold evaluation would be required”); id. at 82 (holding that

   because handbook did not require college police to conduct the investigation, “the Student Guide

   could not raise a reasonable expectation to a student” that the college police would conduct the

   investigation).

              The Order appeared to distinguish Boston College II on three grounds, but these reasons

   warrant no departure from Boston College II (or Boston College I, for that matter).5




   5
       The Order did not attempt to distinguish Boston College I and appeared to rely on it in part. Order at 4, 8.

                                                                    6
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 11 of 24 PageID #: 1187



            First, the Order noted (p. 7 n.9) that Boston College II arose under Massachusetts law.

   That Boston College II (and Boston College I) arise under Massachusetts law, and not Rhode Island

   law, is immaterial. As the First Circuit itself has indicated, the Massachusetts “reasonable

   expectations” test is no different than the Rhode Island one: Massachusetts employs “a reasonable

   expectations standard” that asks “what meaning the party making the manifestation, the university,

   should reasonably expect the other party, the student, to give it.” Boston College I, 892 F.3d at 80

   (citations and brackets omitted). Rhode Island law does the same, interpreting a student handbook

   “in accordance with the parties’ reasonable expectations, giving those terms the meaning that the

   university reasonably should expect the student to take from them.” Doe v. Brown Univ., 943 F.3d

   61, 67 (1st Cir. 2019). The First Circuit has relied on cases construing Massachusetts law when

   applying the reasonable expectations test under Rhode Island law, and vice versa. See, e.g., Havlik

   v. Johnson & Wales Univ., 509 F.3d 25, 35 (1st Cir. 2007) (citing Massachusetts law, including

   Schaer v. Brandeis Univ., 735 N.E.2d 373 (Mass. 2000), the same case Boston College II, 942

   F.3d at 533, cites, in construing a student handbook under Rhode Island law); Boston College I,

   892 F.3d at 80 (citing Lyons v. Salve Regina Coll., 565 F.2d 200, 202 (1st Cir. 1977) (construing

   Rhode Island law), in setting forth reasonable expectations test under Massachusetts law). Nor

   did the Order cite a single Rhode Island case identifying a material legal difference from

   Massachusetts law on the reasonable expectations test.6 Indeed, even Doe contends that Boston

   College I establishes the applicable test.7 Thus, there is no basis to depart from the binding

   precedent of Boston College I and Boston College II in applying the reasonable expectations test.




   6
     The “reasonable expectations” test in both Massachusetts and Rhode Island appears to originate in the First Circuit’s
   decision under Rhode Island law in Lyons v. Salve Regina College, which the Massachusetts Supreme Judicial Court
   later adopted in Schaer, 735 N.E.2d at 378 (adopting “reasonable expectations” test as set forth in First Circuit cases,
   beginning with Lyons).
   7
     Pl.’s Verified Opp. to Def.’s Mot. for Summary Judgment (Dkt. No. 62) (“Opp”) at 20.

                                                                  7
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 12 of 24 PageID #: 1188



          Second, the Order noted (p. 7 n.9) that “Massachusetts had a well-developed and extensive

   body of law defining the meaning of ‘fundamental fairness’ in school disciplinary cases.”

   However, the law on fairness that Boston College II addresses was the case law applying the

   concept of “basic fairness,” which the First Circuit noted is a separate test from the “reasonable

   expectations” test. See Boston College II, 942 F.3d at 533 (describing and analyzing separately

   the “reasonable expectations” test and the “basic fairness” test). As a matter of “reasonable

   expectations,” Boston College II held that, notwithstanding a promise to be fair, a student “could

   not have reasonably expected” to receive a procedural protection when “[n]othing in the contract

   provides any basis for the expectation.” Id.

          Third, the Order (p. 7 n.9) noted that Boston College II arose on an appeal from a

   preliminary injunction. Yet the First Circuit rejected the plaintiff’s argument for breach of contract

   as a matter of law, relying on the absence of language in the student handbook offering the

   protection the student sought. See 942 F.3d at 533. Nothing indicates the holding on the

   reasonable expectations standard is anything other than definitive. Moreover, Boston College I

   likewise held that a promise to be “fair” does not import new procedural protections into the

   handbook, and that case arose on an appeal from summary judgment. See 892 F.3d at 79.

          For the foregoing reasons, JWU respectfully submits the application of the “reasonable

   expectations” test in Boston College II and Boston College I controls the issue before the Court,

   and reconsideration is warranted to apply the holdings of those cases to Doe’s contract claims.

                  2.      Binding First Circuit Precedent Holds That A Promise To Be Fair Is
                          Not Ambiguous But An Incorporation Of The Implied Covenant Of
                          Good Faith And Fair Dealing.




                                                         8
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 13 of 24 PageID #: 1189



           Second, Boston College I and Boston College II also foreclose the conclusion that the word

   “fair” as used in a student handbook is ambiguous.8 Although confronted with (materially) the

   same term as this Court, neither Boston College I nor Boston College II deemed the promises of a

   “fair procedure” or “fundamental fairness,” respectively, to be ambiguous. Instead, Boston

   College I equated the express promise of fairness with the implied covenant of good faith and fair

   dealing or, as applied in the context of school disciplinary proceedings, a “duty to provide basic

   fairness.” 892 F.3d at 87; see id. at 88. The First Circuit explained that “whenever a school

   expressly promises no less than basic fairness, which is the case here, the school’s implied duty

   becomes superfluous and the court’s analysis to ensure that the disciplinary proceedings were

   conducted with basic fairness, focuses on assuring compliance with the express contractual

   promise.” 892 F.3d at 88 (citation and quotations omitted); accord Boston College II, 942 F.3d at

   534 n.6 (reaffirming and quoting Boston College I’s holding that “‘whenever a school expressly

   promises no less than basic fairness,’” “‘the school’s implied duty [of basic fairness] becomes

   superfluous and the court’s analysis to ensure that the disciplinary proceedings were ‘conducted

   with basic fairness’ focuses on assuring compliance with the express contractual promise’”). In

   other words, a promise to be fair in the educational context is not an ambiguous term that could

   import new substantive protections into the contract. It simply restates the implied duty of good

   faith and fair dealing. That duty applies under Rhode Island law as well, see Havlik, 509 F.3d at

   35, and does not render the CRP ambiguous, any more than the implied covenant of good faith and

   fair dealing rendered ambiguous the student handbook in Havlik, Boston College I, and Boston

   College II.




   8
    The Order did not cite a single precedent construing the term “fair” in a student handbook as creating ambiguity,
   much less of allowing the potential for adding non-existent terms to the student handbook.

                                                               9
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 14 of 24 PageID #: 1190



                     3.    Binding First Circuit Precedent Holds That A Court Cannot Create
                           New Student Protections Without Support From State Legal Sources.

             Third, Boston College II holds that federal courts cannot extend to students protections

   not found in the student handbook absent an existing, explicit state law basis to do so. The First

   Circuit explained that “[f]ederal courts are not free to extend the reach of state law” to impose new

   requirements on school disciplinary processes. 942 F.3d at 535. That restraint is particularly

   important where state law affords deference to private academic institutions’ choices on student

   discipline. Id.

             The Order, however, construes the word “fair” to create “more protections” than what the

   CRP provides without any basis in Rhode Island law for doing so. Order at 7-8. No Rhode Island

   statute, rule, or case provides that the term “fair” (or any similar language) can be construed to

   expand or add to the express contractual protections governing a student disciplinary process.

   Moreover, Rhode Island law—like Massachusetts law—requires student handbooks to be

   construed to afford private schools “broad discretion” in disciplinary proceedings. Brown Univ.,

   943 F.3d at 67 (quoting Gorman v. St. Raphael Acad., 853 A.2d 28, 34 (R.I. 2004)); see Havlik,

   509 F.3d at 35 (explaining that, under Rhode Island law, “courts must accord a school some

   measure of deference in matters of discipline”) (citing Gorman, 853 A.2d at 34)). Under Boston

   College II, the absence of the protections from the CRP and from existing Rhode Island law

   forecloses extending additional protections to Doe, and thus requires rejection of his contract

   claims.

             B.      Doe’s Contract Claims Fail Under The Proper Application Of First Circuit
                     Precedent.

             As set forth above, under the “reasonable expectations” standard as applied in Boston

   College II and Boston College I, the word “fair” cannot serve as a source of additional procedures

   not found in the CRP. Accordingly, the viability of Doe’s contract claims requires assessing his

                                                        10
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 15 of 24 PageID #: 1191



   alleged procedural deficiencies against the specific language of the student handbook. So assessed,

   it is clear that Doe’s contract claims fail as a matter of law because the student handbook nowhere

   supplies, and at times conflicts with, the procedures he seeks:

          Doe claims he “was never given a copy of what was an 18-page statement by [Mary]
           Smith.” Order at 3.
              o JWU presumes the Order is referring to the Unusual Incident Report (“UIR”), as
                  there is no 18-page statement by Smith.9 The CRP does not provide that the student
                  will receive a copy of the UIR. The CRP states that a “student will receive a
                  notification describing the alleged violation.” CRP at 14. It is undisputed that that
                  occurred here, as Doe received a letter delineating the charges,10 and had the entire
                  UIR read to him with an opportunity to take notes, see Order at 3. Moreover, the
                  CRP specifically states that students “have the right to access their education
                  records under certain conditions” and directs students to consult JWU’s policy
                  under the Family Educational Rights and Privacy Act (FERPA) for information on
                  how to access these records. CRP at 14. FERPA gives students a right to inspect
                  their educational records, not a right to a copy of them. See 34 C.F.R. § 99.10(a),
                  (d). In light of the CRP’s omission of any promise to provide a copy of the
                  complaint and its reference to FERPA, Doe could not reasonably expect to receive
                  a copy of the complaint. Cf. Bleiler v. Coll. of Holy Cross, 2013 WL 4714340, at
                  *15 (D. Mass. Aug. 26, 2013) (student could not reasonably expect to be provided
                  a copy of a recording of a hearing, even where the student handbook said one would
                  be made and provided students a right to a “fair process,” because the handbook
                  did not offer that right).

          Doe claims “the process was not sufficiently explained to him, in that he was not told ‘how
           and if he could question any witnesses, bring any witnesses, bring and/or submit any
           evidence, whether there would be opening statements or closing statements.’” Order at 3.
               o The CRP says in two places that a student may “bring” to the hearing and “present”
                  “relevant materials and witnesses.” CRP at 15, 17. Under the “reasonable
                  expectations” test, a student is presumed to know the contents of the handbook, so
                  Doe cannot state a contract claim based on supposed ignorance of whether he could
                  bring witnesses or evidence to the hearing. See Mangla v. Brown Univ., 135 F.3d
                  80, 83 (1st Cir. 1998) (university can reasonably expect students to be aware of
                  policies in relevant contractual document).11

   9
     Doe’s summary judgment opposition referred to an “18+ page incident report/complaint.” Opp. at 23. This appears
   to be a reference to the UIR, which is not a statement by Smith, but a summary of the investigation. It is 16 pages
   (some of which are only partial pages), and only approximately four pages are a statement from Smith about the
   incidents. Doe’s own statements, as well as those of his supposedly exculpatory witnesses, cover a roughly equivalent
   number of pages in the UIR. See Exs. H, J, L, N, O, and P to Gray Decl. (Dkt. Nos. 52-3, 52-5, 52-7, 52-9, 52-10, 52-
   11).
   10
      Ex. Q to Gray Decl. (Dkt. 52-12).
   11
      Moreover, Doe admitted in his deposition that a university official told him to bring to the hearing social media
   evidence he had collected. See Doe Dep. Tr. at 77:10-17 (Dkt. 50-1), attached as Ex. 1 to Johnson & Wales


                                                                11
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 16 of 24 PageID #: 1192



               o Nowhere in the CRP does JWU promise to explain the process to him beyond the
                 nine-page explanation in the CRP itself. In fact, the CRP directs students to call
                 Student Conduct at a specified phone number “[f]or questions regarding the Student
                 Code of Conduct, the Conduct Review Process, or Sanctions.” CRP at 18. JWU
                 encouraged Doe to review the CRP when it notified him of the charges and of the
                 hearing date,12 and invited him to ask further questions multiple times. Order at 3.
                 Although Doe claims he had unanswered questions about the process, JWU can
                 reasonably expect Doe to be aware of the CRP’s description of the process and its
                 instruction to call Student Conduct with questions about that process. See Mangla,
                 135 F.3d at 83.

          Doe claims “he was not allowed to question [Smith] or any witnesses.” Order at 3. He
           also claims he was not allowed to question Smith’s advisor, B.K.13
               o The CRP nowhere specifies that respondents or complainants are entitled to
                   question witnesses, advisors, or anyone else involved in the proceeding. So Doe
                   could not have reasonably expected that opportunity. See Boston College II, 942
                   F.3d at 533 (rejecting plaintiff’s claim to right to cross-examination where
                   “[n]othing in the contract provides any basis for that expectation”).

          Doe complains “the standard of proof was preponderance of the evidence,” and that is “too
           low.” Order at 4 & n.5.
              o As the Order notes (p. 4 n.5), the CRP adopts a preponderance standard, stating that
                 “[h]earing officers and panels use the ‘more likely than not’ standard to evaluate
                 alleged violations.” CRP at 15. No reasonable juror could conclude that Doe could
                 have a reasonable expectation of a standard beyond a preponderance when the CRP
                 explicitly enshrines the preponderance standard.

          Doe complains that “the hearing was not transcribed, and no other record was made of it.”
           Order at 4.
              o The CRP nowhere mentions transcribing the hearing. The CRP states only that a
                  student will receive information on the outcome, CRP at 15, 17, which is the only
                  reference to a written documentation of the hearing. And that is what happened in
                  this case: Doe received a letter explaining the panel’s reason for its decision, in
                  accordance with the CRP.14 In light of the absence of any CRP reference to a
                  transcript, recording, or further record of the proceeding, Doe could not have
                  reasonably expected one would be made. Cf. Roe v. Ne. Univ., 2019 WL 1141291,
                  at *15 (Mass. Super. Ct. Mar. 8, 2019) (fairness did not require university to
                  maintain a record of the hearing because plaintiff had her own first-hand knowledge
                  of the hearing by actively participating in it).



   University’s Local Rule 56(a) Statement of Undisputed Facts in Support of its Motion for Summary Judgment (SUF)
   at ¶¶ 136-37.
   12
      Ex. Q to Gray Decl. (Dkt. No. 52-12); Ex. S to Gray Decl. (Dkt. No. 52-14).
   13
      Opp. at 23.
   14
      Ex. V to Gray Decl. (Dkt. No. 52-16).


                                                             12
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 17 of 24 PageID #: 1193



           Doe claims “his appeal should have been granted because there was new evidence of a
            post-incident Instagram posting by Smith.” Order at 4.
               o The CRP expressly states that an appeal may only be granted if “[r]elevant, new
                   information has come to light since the decision was made.” CRP at 16. It is
                   undisputed that the Instagram post was made on December 10, 2016, and was
                   accessible to Doe before the hearing on October 20, 2017.15
               o Moreover, Doe knew that social media evidence could be relevant before the
                   hearing, as he admitted in his deposition to bringing social media evidence to show
                   university personnel at his pre-hearing conference.16 No reasonable juror could
                   conclude that Doe could reasonably expect “new information” that “has come to
                   light since the decision was made” to include information that Doe had ready access
                   to before the hearing.17

           Doe claims that JWU “conducted its disciplinary procedures in a gender discriminatory
            way.” Order at 4. Insofar as this is a summary of Doe’s Title IX theory, it is irrelevant to
            his contract claim; if it were relevant, it would fail for the same reasons as Doe’s Title IX
            claim. Insofar as this is a summary of a contract argument, JWU assumes the Order refers
            here to Doe’s argument that the “burden was all on him and that burden shift was in
            violation of the CRP” because Smith “never had to provide evidence that the events
            actually occurred.”18
                o Doe’s claim is a misstatement of the record; there was evidence that the events
                    actually occurred, namely, Smith’s testimony before the panel.19 There is no actual
                    dispute on that point. Instead, Doe seems to be arguing that JWU should have
                    required more evidence than Smith’s own testimony to find Doe responsible. But
                    the CRP nowhere suggests a student cannot be found responsible for sexual assault
                    based solely on the testimony of the complainant (and, indeed, in many such cases
                    the only witnesses are the complainant and the respondent). Doe could not
                    reasonably expect that some additional standard of evidence would be required
                    when none is mentioned in the CRP.

           Doe claims JWU should have provided him with the identities of the panelists before the
            hearing and the content of the training they received.20
               o Nothing in the CRP mentions that a student will be entitled to this information.
                   Accordingly, Doe could not reasonably expect to receive it.

           Doe claims JWU should have permitted his advisor to participate in the hearing.21
               o The CRP, however, clearly states that “[t]he advisor may accompany the student,
                   but may not participate in any manner.” CRP at 17. Doe could not reasonably



   15
      SUF at ¶¶ 136-37 (Dkt. No. 49); Doe Dep. Tr. at 137:2-19 (Dkt. No. 51-1).
   16
      Doe Dep. Tr. at 77:10-17 (Dkt. No. 51-1).
   17
      SUF at ¶¶ 136-37 (Dkt. No. 49).
   18
      Opp. at 25.
   19
      SUF at ¶¶ 112, 114-15, 119 (Dkt. No. 49).
   20
      Opp. at 24.
   21
      Opp. at 22.

                                                               13
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 18 of 24 PageID #: 1194



                     expect that his advisor should have been able to participate in the hearing when the
                     CRP specifically said the advisor could not.

            In sum, Doe could not have reasonably expected any of the additional protections he claims

   JWU should have provided him.

            Moreover, Doe has presented no evidence of the kind that could support a claim for breach

   of the implied covenant of good faith and fair dealing, such as evidence that JWU “ignored

   promised protections, improperly consulted certain proof, acted arbitrarily in carrying out the

   procedures limned [i.e., described] in the handbook, or made [its] decision in bad faith.” Havlik,

   509 F.3d at 36 (rejecting claim for breach of the implied covenant of good faith and fair dealing

   against JWU).

            For all of these reasons, the Court should grant reconsideration; apply the “reasonable

   expectations” standard and construe “fair” in a manner consistent with First Circuit precedent; and

   grant summary judgment to JWU on Doe’s contract claims.

   II.      Fundamental Principles of Contract Law Foreclose The Conclusion That “Fair”
            Constitutes An Ambiguous Yet Enforceable Promise To Provide Additional
            Protections.

            The Order rests its decision on the premise that the word “fair” is ambiguous. Because

   neither party addressed (or even mentioned) the argument, the Court did not have the benefit of

   any briefing on it.22 However, fundamental contract law principles are necessary for a complete

   analysis of whether “fair” is an ambiguous term. The Court should grant reconsideration to apply

   these principles and enter summary judgment in JWU’s favor for three independent reasons.



   22
     In Gorman, the Rhode Island Supreme Court explained that “strict adherence to contract law” is not required in the
   student handbook context and that courts “must construe them in a manner that leaves the school administration broad
   discretion to meet its educational and doctrinal responsibilities.” 853 A.2d at 34. Accordingly, JWU does not concede
   that the traditional contract doctrine and cases applying it that the Order relied upon are consistent with the rules of
   construction set forth in Gorman or the First Circuit’s application of the “reasonable expectations” standard. JWU
   reserves the right to argue that the doctrinal framework employed in the Order is inapplicable in subsequent
   proceedings in this case, e.g., for purposes of the jury charge or on appeal.

                                                                  14
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 19 of 24 PageID #: 1195



          A.      “Fair” Is Not Ambiguous Insofar As It Has The Same Meaning As The Implied
                  Covenant.

          First, “fair” cannot be deemed ambiguous under Boston College I and Boston College II.

   Boston College I expressly held that the duty of basic fairness is only a restatement of the implied

   covenant of good faith and fair dealing. See supra I.A.2. Boston College II reaffirmed this holding.

   See id. And as a matter of law, “[t]he implied covenant cannot create rights and duties not

   otherwise provided for in the existing contractual relationship.” Miller v. Wells Fargo Bank, N.A.,

   160 A.3d 975, 981 (R.I. 2017) (quotations and citation omitted). Insofar as the conduct procedures

   are concerned, under Rhode Island law, the implied covenant means JWU must provide the

   “promised protections” from the student handbook and not “act[] arbitrarily in carrying out the

   procedures limned [i.e., described] in the handbook.” Havlik, 509 F.3d at 36. It does not mean a

   student is entitled to “more” undefined, unspecified protections. And the concept is no more

   ambiguous than it was in Havlik, Boston College I, and Boston College II.

          B.      “Fair” Is Not Ambiguous As Used In The CRP.

          Second, and independently, read in context, as it must be, “fair” is not ambiguous. In

   determining whether an ambiguity exists, courts “view the agreement in its entirety and give to its

   language its plain, ordinary and usual meaning.” Paul v. Paul, 986 A.2d 989, 993 (R.I. 2010)

   (quotations and citation omitted). A court “does not establish ambiguity by viewing a word in

   isolation or by taking a phrase out of context.” Bliss Mine Rd. Condo. Ass’n v. Nationwide Prop.

   & Cas. Ins. Co., 11 A.3d 1078, 1083 (R.I. 2010) (quotations and citation omitted); accord Boston

   College I, 892 F.3d at 81. And a court “cannot consider the subjective intent of the parties[] but

   rather must consider the intent expressed by the language of the contract.” Bliss Mine Rd. Condo.

   Ass’n, 11 A.3d at 1083-84. Finally, courts will not find ambiguity unless the term at issue is

   “reasonably and clearly susceptible of more than one interpretation.” Haviland v. Simmons, 45


                                                       15
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 20 of 24 PageID #: 1196



   A.3d 1246, 1258 (R.I. 2012) (quotations and citation omitted). Thus, if a party cannot show a term

   as used in the contract is “reasonably and clearly susceptible of” his proposed construction, id. at

   1258, it is immaterial that the term may be ambiguous in an abstract sense or that the party has a

   different subjective intent about what the term should mean.

          Under this framework, “fair,” which appears twice in the CRP, is not “reasonably and

   clearly susceptible of” an interpretation that it imports new protections into the CRP that are not

   mentioned in the CRP.

          First, the CRP states: “The University administers the Conduct Review Process in good

   faith, making every reasonable effort to be fair to all involved.” CRP at 13. Here, the word “fair”

   refers to the conduct review process described over nine pages of the CRP. Thus, it describes how

   JWU administers the existing protections specified in the CRP (consistent with the implied

   covenant of good faith and fair dealing). It does not define what protections JWU will provide or

   suggest non-existing protections may be added to the process.

          Second, the CRP vests parties with the “right to an investigation and resolution that is

   prompt, fair and impartial from the initial investigation to the final result as required by applicable

   law.” CRP at 17. Here, the right to a fair process is limited by the modifying phrase “as required

   by applicable law,” namely the federal regulations that govern “[p]rocedures for institutional

   disciplinary action in [Title IX] cases.” 34 C.F.R. § 668.46(k). Indeed, the CRP’s wording follows

   nearly verbatim those regulations, which require a written policy for proceedings, including “a

   prompt, fair, and impartial process from the initial investigation to the final result.”            Id.

   § 668.46(k)(2)(i). The regulations define what a “prompt, fair, and impartial” proceeding is and

   note that this phrase means, among other things, that the proceeding is “[c]onducted in a manner

   that … (1) is consistent with the institution’s policies.” Id. § 668.46(k)(3)(i)(B). The regulation



                                                         16
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 21 of 24 PageID #: 1197



   does not require any of the procedures that Doe claims were lacking. See id. Far from importing

   new procedures not mentioned in the CRP, this second usage of the word “fair” refers directly to

   the specific legal standards that define a fair proceeding and that apply to school disciplinary

   procedures involving sexual violence (again consistent with the implied covenant of good faith

   and fair dealing). It is no more ambiguous than the regulatory term itself.

          Both uses of “fair” must also be considered in light of the nine-page section of the student

   handbook describing the Conduct Review Process. Those pages begin by explaining that the

   Conduct Review Process provides “procedures for determining whether a student is responsible or

   not responsible for a violation of the Student Code of Conduct.” CRP at 13. The student handbook

   specifies numerous aspects of the procedures, including (but in no way limited to):

         the preparation of an incident report upon report of a violation;
         the role of Campus Safety & Security in investigating violations;
         the initial intake of violations by Student Conduct;
         the types of hearings and the manner in which JWU decides the type of hearing that will
          apply to a particular violation;
         the training that hearing panelists will receive;
         the notification procedures students receive;
         students’ rights to bring material and witnesses to hearings;
         students’ rights to an advisor;
         the limitation on the advisor’s role in the proceedings;
         the consequences for failing to attend a hearing;
         who is permitted to attend a hearing;
         the evidence that the hearing panel may consider;
         the findings that a hearing panel may make;
         the evidentiary standard the hearing panel uses;
         the process for determining sanctions and the definitions of all relevant sanctions;
         the process for informing students of the outcome of the decision;
         how students can ask questions about the process;
         how a student can admit responsibility and the effect of an admission on appeal rights;
         the timing and grounds for appealing a decision;
         student’s rights to access their records under the Family Educational Rights and Privacy
          Act;
         the extent to which prior conduct violations will be considered; and
         student obligations to participate in proceedings.


                                                       17
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 22 of 24 PageID #: 1198



   See CRP at 13-21.

          No reasonable reader of the student handbook could have concluded JWU went to the

   trouble of describing so many aspects of the Conduct Review Process only to create an open-ended

   commitment to “more” undefined, unspecified protections—that potentially could contradict the

   defined, specified procedures—through two uses of the word “fair.” Thus, even if “fair” were

   susceptible of multiple meanings, it would not be susceptible of that one. Consequently, any

   purported alternative meaning to the one JWU articulated would be immaterial—in the same way

   it would not matter if one party argued a term meant “red,” but it could only be “reasonably and

   clearly” construed to mean “black” or “white.”

          C.      The Order’s Construction Of “Fair” Leads To An Indefinite, Unenforceable
                  Promise.

          Third and independently, if the word “fair” embeds a supposed promise to provide “more

   protections” than those specified in the CRP, as the Order concludes, then this promise is

   unenforceable as a matter of law. “Definiteness is an important characteristic of a binding contract

   because a court can only enforce an agreement if it can specify the obligations undertaken by the

   parties. A court asked to declare a contract binding must determine that the contract is definite

   enough that the court can be ‘reasonably certain’ of the scope of each party’s duties.” Ross-Simons

   of Warwick, Inc. v. Baccarat, Inc., 182 F.R.D. 386, 395 (D.R.I. 1998) (quotations and citation

   omitted). Applying that principle in the context of a student handbook, the First Circuit has held

   that “[v]ague and generalized representations are not contractually enforceable” because these

   “sort of generalized, aspirational statements [] are insufficiently definite to form a contract.” Fay

   Sch., 931 F.3d at 12. The word “fair” is not definite enough to enable any party or fact-finder to

   be “reasonably certain” of what additional protections the CRP requires JWU to provide. Ross-

   Simons of Warwick, Inc., 182 F.R.D. at 395.


                                                        18
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 23 of 24 PageID #: 1199



   III.   Alternatively, The Court Should Grant Reconsideration To Clarify The Order.

          If the Court declines to reconsider the Order and grant summary judgment in JWU’s favor,

   it should alternatively grant reconsideration to clarify which protections, other than those the CRP

   expressly identifies, are encompassed within the term “fair.” The Order holds that a jury could

   conclude that Doe can receive “more protections” than he alleges he received. Order at 8. But the

   Order does not specify whether that means all of the additional protections he seeks, or only some

   of them. JWU submits that addressing each of Doe’s claimed procedures under the “reasonable

   expectations” standard is the proper approach. See, e.g., Boston College I, 892 F.3d at 80-85

   (addressing specific procedural deficiencies individually to determine which survive summary

   judgment and which do not). At the least, the Court should address the matter under the

   “ambiguity” approach in the Order and specify what protection purportedly may come within the

   CRP and to the jury’s consideration.

                                            CONCLUSION

          JWU requests that the Court reconsider the Order and enter summary judgment in favor of

   JWU on Doe’s contract claims. Alternatively, the Court should clarify the Order by identifying

   which additional protections the term “fair” purportedly imports into the CRP.

                                                        JOHNSON & WALES UNIVERSITY
                                                             By its Attorneys,

                                                                    /s/ Jeremy Licht
                                                                Jeremy Licht (#9518)
                                                                Johnson & Wales University
                                                                8 Abbott Park Place
                                                                Providence, RI 02903
                                                                Tel: (401) 598-1027
                                                                Fax: (401) 598-2240
                                                                jeremy.licht@jwu.edu

                                                                    /s/ Steven M. Richard
                                                                Steven M. Richard (#4403)
                                                                Jeffrey S. Brenner (#4539)

                                                       19
Case 1:18-cv-00106-MSM-LDA Document 74-1 Filed 12/20/19 Page 24 of 24 PageID #: 1200



                                                             Nixon Peabody LLP
                                                             One Citizens Plaza, Suite 500
                                                             Providence, RI 02903
                                                             Tel: (401) 454-1020
                                                             Fax: (401) 454-1030
                                                             srichard@nixonpeabody.com



   Dated: December 20, 2019



                                   CERTIFICATE OF SERVICE

          I certify that on the 20th day of December 2019, I filed and served this memorandum via
   the Court’s CM/ECF system.

                                                                 /s/ Steven M. Richard




                                                     20
